Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 1 of 8 PageID# 6806




                        EXHIBIT 79
Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 2 of 8 PageID# 6807
Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 3 of 8 PageID# 6808
Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 4 of 8 PageID# 6809
Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 5 of 8 PageID# 6810
Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 6 of 8 PageID# 6811
Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 7 of 8 PageID# 6812
Case 2:18-cv-00530-MSD-RJK Document 310-14 Filed 04/12/21 Page 8 of 8 PageID# 6813
